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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


   GREG & COMPANY, LLC.,

           Plaintiff,                                          Case No.: 1:24-cv-04214

   v.                                                          Judge Manish S. Shah

   THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Heather K. McShain
   ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 86                                        llgcgc
                 87                                      yjamerica


DATED: June 28, 2024                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     33 W. Jackson Blvd., #2W
                                                     Chicago, Illinois 60604
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                                                     ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 28, 2024 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
